                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            DOCKET NO. 3:12-cr-00386-RJC

USA,                                             )
                                                 )
                Plaintiff(s),                    )
                                                 )
       vs.                                       )
                                                 )
JOHN W. FEMENIA,                                 )
          Defendant(s).                          )



       THIS MATTER is before the Court upon request of the defendant for permission to
travel between January 18 and 21, 2013, to Londonderry Vermont. (Letter dated January 17,
2013). Neither the United States Attorney’s Office nor the United States Probation Office
opposes the request.
       For the reasons stated in the letter, the Court finds good cause to allow the temporary
modification of the defendant’s release conditions.
       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED and the
defendant may travel to Londonderry, Vermont, between January 18 and 21, 2013. The
defendant shall inform the USPO of his location at all times. All other conditions remain
unchanged.
       The Clerk is directed to certify copies of this order to the defendant, counsel for the
defendant, to the United States Attorney, the United States Marshals Service, and the United
States Probation Office.

                                        Signed: January 18, 2013




       Case 3:12-cr-00386-RJC           Document 55            Filed 01/18/13   Page 1 of 1
